             Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 1 of 18


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 6
                                  UNITED STATES DISTRICT COURT
 7                              NORTHERN DISTRICT OF CALIFORNIA
 8
       Hope Murphy and Carol Lesh,                Case No.
 9     individually and on behalf of all others
       similarly situated,
10                                                CLASS ACTION COMPLAINT

11                        Plaintiffs,             DEMAND FOR JURY TRIAL

12     vs.
13     Olly Public Benefit Corporation,
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                         Defendant.
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             Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 2 of 18



 1                                                               Table of Contents
 2   I.      Introduction. ............................................................................................................................... 1

 3   II.     Parties. ........................................................................................................................................ 2
     III.    Jurisdiction, venue, and divisional assignment. ......................................................................... 2
 4
     IV.     Facts. .......................................................................................................................................... 2
 5
             A.         It is important to consumers that over-the-counter melatonin is accurately
 6                      dosed and labelled. ......................................................................................................... 2
 7           B.         Scientific research reveals serious problems with the accuracy of melatonin
                        dosing and labelling in Canada. Scientists warn that the same is likely true of
 8                      some U.S. brands. .......................................................................................................... 4
 9           C.         Olly sells over-the-counter melatonin supplements to millions of U.S.
                        consumers....................................................................................................................... 4
10
             D.         Scientific testing reveals that Olly Melatonin has substantial and random
11                      overdoses of melatonin. ................................................................................................. 6

12           E.         Olly’s labelling is false and misleading to reasonable consumers. ................................ 7
             F.         Olly overcharges millions of consumers. ....................................................................... 8
13
             G.         Plaintiffs were misled and harmed by Olly’s misleading labelling. .............................. 9
14
     V.      Class action allegations. ........................................................................................................... 10
15   VI.     Claims. ..................................................................................................................................... 12
16           Count 1: Violations of State Consumer Protection Acts.......................................................... 12
17           Count 2: Violation of California’s Unfair Competition Law (UCL) ....................................... 13

18           Count 3: Violation of California’s False Advertising Law (FAL) ........................................... 14
             Count 4: Unjust Enrichment/Quasi-Contract ........................................................................... 15
19
     VII.    Jury Demand. ............................................................................................................................ 15
20
     VIII.   Prayer for Relief. ...................................................................................................................... 15
21
22
23
24
25
26
27
28




     CLASS ACTION COMPLAINT                                                     i                                                                Case No.
           Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 3 of 18




 1   I.     Introduction.
 2          1.      Melatonin is a neurohormone that regulates the brain’s sleep cycle. Millions of
 3   consumers take over-the-counter melatonin supplements to help them sleep. Because melatonin
 4   alters brain chemistry, it is important that these supplements are accurately dosed and labelled.
 5          2.      A few years ago, scientists tested Canadian melatonin supplements and found that, for
 6   a number of brands, the true amount of melatonin varied wildly from the label. Scientists and the
 7   National Institute of Heath have warned that the same may be true here in the U.S.
 8          3.      Olly is a major U.S. brand of melatonin supplements, sold nationwide at retailers like
 9   Walmart, Whole Foods, and Target. Each bottle claims to have a specific dose of melatonin per
10   serving. For example:
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            4.      Like millions of other consumers, Plaintiffs bought Olly melatonin and trusted the
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     accuracy of Olly’s dosing and labelling. To determine how much melatonin is really in Olly, a
23
     university mass-spectrometry laboratory tested multiple bottles, including Plaintiffs’ bottles. The
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     results were alarming—all bottles were substantially (and seemingly randomly) overdosed. The true
25
     amount of melatonin was 165% to 274% of the amount claimed.
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            5.      Olly systematically misrepresents how much melatonin is in the supplements it sells.
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     Consumers are being misled, overcharged, and put at risk.
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     CLASS ACTION COMPLAINT                             1                                           Case No.
            Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 4 of 18




 1   II.    Parties.
 2          6.       Plaintiff Hope Murphy is domiciled in Vista, California. She purchased a bottle of
 3   Olly Sleep in California.
 4          7.       Plaintiff Carol Lesh is domiciled in Berkeley, California. She purchased a bottle of
 5   Olly Sleep Extra Strength in California.
 6          8.       The proposed class includes citizens of every state.
 7          9.       Defendant Olly Public Benefit Corporation is a Delaware corporation with its
 8   principal place of business in San Francisco, California.
 9   III.   Jurisdiction, venue, and divisional assignment.
10          10.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2). The amount
11   in controversy exceeds $5,000,000, exclusive of interest and costs, and the matter is a class action in
12   which one or more members of the proposed class are citizens of a state different from Olly.
13          11.      The Court has personal jurisdiction over Olly because (among other reasons) its
14   principal place of business is in California.
15          12.      Venue is proper under 28 U.S.C. § 1391(b)(1) because Olly resides in this District, at
16   its San Francisco headquarters.
17          13.      Divisional Assignment. This case should be assigned to the San Francisco or Oakland
18   division. See L.R. 3-2(d). A substantial part of the events giving rise to the claims occurred in San
19   Francisco, at Olly’s headquarters.
20   IV.    Facts.
21          A.       It is important to consumers that over-the-counter melatonin is accurately dosed
22                   and labelled.
23          14.      Melatonin (N-acetyl-5-methoxytryptamine) is a neurohormone produced by the pineal
24   gland in the brain. It regulates the brain’s circadian rhythm and sleep cycle.
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     CLASS ACTION COMPLAINT                              2                                          Case No.
           Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 5 of 18




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                                        The chemical structure of melatonin
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            15.     Millions of U.S. consumers take melatonin supplements to treat sleep problems,
 9
     anxiety, and other issues. Melatonin is one of the most popular over-the-counter supplements in the
10
     U.S., and its use has “significantly increased” in the last 20 years. 1 Its use to help children fall asleep
11
     is becoming increasingly popular too. 2
12
            16.     As scientists explained in the Journal of Clinical Sleep Medicine, because melatonin is
13
     “self-prescribed” (i.e., purchased directly by consumers who are not experts), it is particularly
14
     “important that labels are informative and representative of the product,” i.e., that the “label claim
15
     values for the active ingredient are accurate.” 3 When melatonin is falsely labelled, lower doses of
16
     melatonin “might be ineffective,” while “higher doses could lead to unpleasant/unexpected side
17
     effects.” 4 Side effects of melatonin include headaches, dizziness, nausea, or excessive or unwanted
18
     sleepiness. 5 “Many experts recommend starting with the smallest available dosage — 0.5 milligrams
19
     to 1 milligram.” 6 And regardless of side effects, consumers don’t want to take random, uncontrolled
20
     amounts of a neurohormone that alters brain chemistry.
21
            1
22             JAMA Research Letter, Trends in Use of Melatonin Supplements Among US Adults, 1999-
     2018, 327(5) JAMA 483 (2022).
23           2
               The New York Times, Parents Are Relying on Melatonin to Help Their Kids Sleep. Should
     They?, https://www.nytimes.com/2020/05/18/parenting/melatonin-sleep-kids.html
24           3
               Erland, L. & Saxena, P., Melatonin Natural Health Products and supplements: Presence of
25   serotonin and significant variability of melatonin content, 13 Journal of Clinical Sleep Medicine 275–
     281 (2017).
26           4
               Grigg-Damberger, M. & Ianakieva, D., Poor quality control of over-the-counter melatonin:
     What they say is often not what you get, 13 Journal of Clinical Sleep Medicine 163–165 (2017).
27           5
               NIH National Library of Medicine Medline Plus, Melatonin,
28   https://medlineplus.gov/druginfo/natural/940.html
             6
               The New York Times, Melatonin Isn’t a Sleeping Pill. Here’s How to Use It,
     https://www.nytimes.com/2022/01/11/well/mind/melatonin-sleep-insomnia.html
     CLASS ACTION COMPLAINT                                3                                            Case No.
           Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 6 of 18




 1          B.     Scientific research reveals serious problems with the accuracy of melatonin
 2                 dosing and labelling in Canada. Scientists warn that the same is likely true of
 3                 some U.S. brands.
 4          17.    In 2017, a study of Canadian melatonin brands found “high variability, ranging from
 5   −83% to +478%, of the labelled concentration of melatonin content in melatonin supplements.” 7 For
 6   over 70% of the tested brands, the true amount of Melatonin varied more than 10% from the listed
 7   amount. The amount of melatonin also varied highly between different lots (manufacturing batches)
 8   of the same product. The researchers concluded that “manufacturers require increased controls to
 9   ensure melatonin supplements” are accurately labelled.
10          18.    U.S. scientists warned that this Canadian study “herald[s] what may also be true in
11   OTC melatonin supplements marketed in the United States.” 8 Likewise, the National Institute of
12   Health has warned that “some melatonin supplements may not contain what’s listed on the product
13   label.” 9 And Consumer Reports warned: “The findings … offer the latest proof of something
14   supplement industry critics have long warned about: When it comes to this poorly regulated corner of
15   modern medicine, consumers often don’t know what they’re buying.” 10
16          C.     Olly sells over-the-counter melatonin supplements to millions of U.S. consumers.
17          19.    Olly is a major U.S. brand of melatonin supplements. Its melatonin products (“Olly
18   Melatonin”) are available nationwide at retailers like Walmart, Target, and Whole Foods. Millions of
19   U.S. consumers buy Olly Melatonin and rely on the accuracy of its labelling.
20          20.    Olly makes and sells several varieties of Olly Melatonin, including the following non-
21   limiting examples: Olly Sleep (regular, Extra Strength, and Ultra Strength), Immunity Sleep, Muscle
22   Recovery Sleep, and Kids Sleep. For each product, the label claims a specific amount of melatonin
23   per serving, e.g., 3 mg or 5 mg. Example products are shown below:
24          7
              Lauren, Melatonin Natural Health Products and supplements, 13 Journal of Clinical Sleep
25   Medicine at 276.
            8
              Madeleine, Poor quality control of over-the-counter melatonin, 13 Journal of Clinical Sleep
26   Medicine at 163.
            9
              NIH National Center for Complementary and Integrative Health, Melatonin:What You Need
27   To Know, https://www.nccih.nih.gov/health/melatonin-what-you-need-to-know
            10
28             Consumer Reports, New Study Questions Ingredient Levels in Some Melatonin
     Supplements, https://www.consumerreports.org/melatonin/study-questions-ingredient-levels-some-
     melatonin-supplements/
     CLASS ACTION COMPLAINT                            4                                         Case No.
         Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 7 of 18




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     CLASS ACTION COMPLAINT                5                             Case No.
           Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 8 of 18




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11          21.     All Olly Melatonin products are substantially similar. They all advertise melatonin as
12   a key, active ingredient and claim to have a specific amount of melatonin per serving.
13          D.      Scientific testing reveals that Olly Melatonin has substantial and random
14                  overdoses of melatonin.
15          22.     Liquid Chromatography-Mass Spectrometry analysis (LC-MS) can accurately measure
16   the true amount of melatonin in an over-the-counter supplement. For Olly Melatonin, a university
17   mass-spectrometry used LC-MS to test Olly Melatonin. The lab tested multiple bottles and types of
18   Olly Melatonin, including Plaintiffs’ bottles. The results are summarized below:
19
                                          Claimed                   True              True melatonin
20
                  Olly type            melatonin dose          melatonin dose              dose
21                                     (mg / gummy)11          (mg / gummy)12             (%)13

22        Olly Sleep                         1.50                    4.11                  +274%

23        Olly Immunity Sleep                1.50                    2.48                  +165%

24        Olly Extra Strength                2.50                    4.77                  +190%

25
26
            11
                 The serving size for each bottle is 2 gummies/serving. Accordingly, the per-gummy
27   claimed amount of melatonin is half the per-serving claimed amount.
             12
28               The lab tested three gummies per bottle and averaged the results. There was little variance
     in the melatonin content between gummies in the same bottle.
              13
                 The percentage ratio of the true dose to the claimed dose.
     CLASS ACTION COMPLAINT                              6                                          Case No.
           Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 9 of 18




 1          23.     As the results show, the melatonin content of Olly is consistently (and randomly)
 2   overdosed. For example, the bottle of Olly Sleep had nearly three times the amount of melatonin
 3   listed on the label, and the bottle of Olly Extra Strength had nearly twice the amount of listed
 4   melatonin. Something is systematically and seriously wrong with Olly’s dosing and labelling.
 5          E.      Olly’s labelling is false and misleading to reasonable consumers.
 6          24.     By selling a melatonin supplement for sleep (i.e., a supplement that alters brain
 7   chemistry), Olly is representing to consumers that its products are accurately dosed and labelled.
 8   When a consumer picks up a bottle of Olly Melatonin, they reasonably expect that it actually has the
 9   dosage for which Olly designed the recommended serving. No reasonable consumer expects that a
10   melatonin supplement has a random and substantial overdose of melatonin, compared to what it is
11   supposed to have. And specifically, when a bottle of Olly says it has a particular amount of
12   melatonin per serving (e.g., 5 mg), consumers expect this to be accurate.
13          25.     At a bare minimum, reasonable consumers would expect that if the true amount of
14   melatonin in Olly’s supplements was substantially (and randomly) higher than the listed amount, Olly
15   would prominently disclose this fact. Consumers do not know the accuracy of Olly’s dosing—that is
16   exclusively within Olly’s knowledge. And Olly affirmatively represents that its products have a
17   specific amount of melatonin, e.g., 3 mg and 5 mg.
18          26.     Olly’s labeling is false and misleading to consumers in multiple respects. The dosage
19   of Olly Melatonin is not well-controlled and consistent with the dosages for which Olly designed the
20   recommended servings. Olly Melatonin does not have the amount of melatonin claimed on the label.
21   And Olly does not even mention that the actual dosage may vary.
22          27.     The inaccurate dosing and labelling of Olly Melatonin is highly material to reasonable
23   consumers. Consumers need melatonin supplements to be accurately dosed and labelled, so that
24   consumers aren’t unknowingly ingesting more neurohormone than they intend to take. No
25   reasonable consumer wants to buy and ingest a supplement containing a random, undisclosed amount
26   of melatonin. No reasonable consumer wants a product that even has a material risk of such
27   problems.
28


     CLASS ACTION COMPLAINT                              7                                          Case No.
           Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 10 of 18




 1           28.     Olly recognizes that its consumers demand accuracy in dosing and labeling. Olly sells
 2   different types of Olly Melatonin, with different claimed strengths, so that consumers can choose
 3   what is right for them. Olly’s website claims that its products are “ensured with quality and safety,”
 4   and that “every product is made to meet our formulators specifications for identity, purity and
 5   potency to ensure they meet what their label claims.” 14 Olly says this because consumers want this
 6   to be true. But it is not true.
 7           29.     Olly also admits that it is undesirable and even dangerous for consumers to ingest
 8   more melatonin than the recommended dosage on the bottles. Olly states: “We do not recommend
 9   exceeding the amount noted on every bottle’s Suggested Use. Each product was formulated by
10   nutritional experts to deliver an effective dose of active ingredients that address daily needs and
11   promote optimum health.” 15 But due to Olly’s inaccurate dosing and labelling, Olly’s customers are
12   unknowingly doing exactly what Olly recommends against (exceeding the recommended dosages for
13   each bottle).
14           30.     Olly knows, or reasonably should know, that it is misleading consumers. As described
15   above, Olly claims that it actively monitors the “potency” of “every product.” Therefore Olly
16   knows, or reasonably should know, that the potency of Olly Melatonin is systematically inaccurate,
17   compared to its labels.
18           F.      Olly overcharges millions of consumers.
19           31.     Olly’s false and misleading labelling drives the demand for Olly Melatonin. As
20   explained above, consumers demand melatonin that is accurately dosed and labelled. This is
21   recognized by scientists, Consumer Reports, and Olly itself. If Olly told the truth—that its dosing
22   and labelling was seriously inaccurate—the price of its products would crater. For example, on the
23   Target website, a bottle of Olly Sleep costs $12.89. If consumers knew the truth—that this bottle
24   likely has some random and excessive amount of melatonin per serving—Olly could not sell it for
25   anything close to $12.89 (or even sell it at all). Plaintiffs and each class member paid a substantial
26   price premium driven by Olly’s false and misleading labelling.
27
             14
28          https://www.olly.com/pages/inside-the-product
             15
            https://help.olly.com/hc/en-us/articles/360035074332-Can-I-take-more-than-the-
     recommended-dose-
     CLASS ACTION COMPLAINT                              8                                           Case No.
          Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 11 of 18




 1          32.     In fact, without accurate dosing and labelling, Olly Melatonin is worthless. What
 2   reasonable consumer wants to buy a supplement that alters brain chemistry, knowing that it may be
 3   randomly and substantially overdosed? There is no melatonin product on the market that tells its
 4   customers that its dosing is seriously inaccurate because such a product could not sell. Plaintiffs and
 5   each class member paid for Olly Melatonin products that are, in truth, worthless. Thus, the full
 6   economic injury here is the entire price of the Olly Melatonin that Plaintiffs and class members
 7   purchased.
 8          G.      Plaintiffs were misled and harmed by Olly’s misleading labelling.
 9          33.     Like millions of other consumers, Plaintiffs bought Olly Melatonin and relied on the
10   accuracy of Olly’s dosing and labelling.
11          34.     In or around fall 2021, Carol Lesh bought a bottle of Olly Sleep Extra Strength (Lot
12   #1246D5716) from a Whole Foods in Berkeley, California. Because she was buying a melatonin
13   supplement that could alter brain chemistry, she relied on the fact that Olly’s dosages were well-
14   controlled (i.e., that the actual dosage would match the recommended dosages). She read and relied
15   on the accuracy of the melatonin content on the label, when buying the product and deciding to take
16   it. She would not have purchased the product if she knew that Olly had serious problems with the
17   accuracy of its dosing and labelling. In fact, knowing the truth, the product is worthless to her.
18          35.     In or around March 2022, Hope Murphy purchased a bottle of Olly Sleep (Lot
19   #1300M5735) from either Walmart or Winco in Oceanside, California. Because she was buying a
20   melatonin supplement that could alter brain chemistry, she relied on the fact that Olly’s dosages were
21   well-controlled (i.e., that the actual dosage would match the recommended dosages). She read and
22   relied on the accuracy of the melatonin content on the label, when buying the product and deciding to
23   take it. She would not have purchased the product if she knew that Olly had problems with the
24   accuracy of its dosing and labelling. In fact, knowing the truth, the product is worthless to her.
25          36.     Plaintiffs want Olly to fix its manufacturing practices and sell its melatonin products
26   with accurate dosing and labelling. If Olly fixes its products, so that they are accurately dosed and
27   labelled, Plaintiffs would buy them again. But given Olly’s past deception, Plaintiffs cannot rely on
28   Olly’s word alone that it has fixed the problem. Plaintiffs face an imminent threat of harm because


     CLASS ACTION COMPLAINT                              9                                          Case No.
          Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 12 of 18




 1   they will not be able to rely on Olly’s labels in the future, and will not be able to buy Olly Melatonin,
 2   even if Olly claims to have fixed the issue. To buy Olly products again, Plaintiffs need the Court to
 3   enter an order forbidding Olly from selling its melatonin unless it has fixed the dosing and labelling
 4   problem. With that Court order in hand, Plaintiffs could and would buy Olly Melatonin again. And
 5   with that order in hand, millions of other consumers will be protected from being deceived like
 6   Plaintiffs were deceived.
 7   V.     Class action allegations.
 8          37.     Plaintiffs bring their claims individually and on behalf of the following class and
 9   subclasses:
10                       Class or Subclass Name            Definition
                         Nationwide Class                  All persons who purchased
11
                                                           Olly Melatonin in the United
12                                                         States during the applicable
                                                           statute of limitations.
13                       Multi-State Consumer              All persons who purchased
14                       Protection Subclass               Olly Melatonin in the
                                                           identified states (see Count 1)
15                                                         during the applicable statute
                                                           of limitations.
16                       California Subclass               All persons who purchased
17                                                         Olly Melatonin in California
                                                           during the applicable statute
18                                                         of limitations.

19          38.     The following people are excluded from the class and the subclasses: (1) any Judge or

20   Magistrate Judge presiding over this action and the members of their family; (2) Defendant,

21   Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which the Defendant or

22   its parents have a controlling interest and their current employees, officers and directors; (3) persons

23   who properly execute and file a timely request for exclusion from the Class; (4) persons whose

24   claims in this matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiffs’

25   counsel and Defendant’s counsel, and their experts and consultants; and (6) the legal representatives,

26   successors, and assignees of any excluded persons.

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     CLASS ACTION COMPLAINT                             10                                           Case No.
          Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 13 of 18




 1          Numerosity
 2          39.      The proposed class contains members so numerous that separate joinder of each
 3   member of the class is impractical. There are millions of proposed class members.
 4          Commonality
 5          40.      There are questions of law and fact common to the proposed class. Common
 6   questions of law and fact include, without limitation:
 7               Whether Olly Melatonin products are accurately dosed and labelled;
 8               Whether Olly’s labelling is misleading to reasonable consumers;
 9               Whether Olly violated state consumer protection laws;
10               The monetary relief needed to reasonably compensate Plaintiffs and the proposed class.
11          Typicality
12          41.      Plaintiffs’ claims are typical of the proposed class. Like the proposed class, Plaintiffs
13   purchased Olly Melatonin.
14          Predominance and Superiority
15          42.      The prosecution of separate actions by individual members of the proposed class
16   would create a risk of inconsistent or varying adjudication with respect to individual members, which
17   would establish incompatible standards for the parties opposing the class. For example, individual
18   adjudication would create a risk that Olly Melatonin labelling is found to be misleading for some
19   consumers, but not other similarly-situated consumers.
20          43.      Common questions of law and fact predominate over any questions affecting only
21   individual members of the proposed class. These common legal and factual questions arise from
22   central issues which do not vary from class member to class member, and which may be determined
23   without reference to the individual circumstances of any particular class member. For example, a core
24   liability question is common: whether Olly’s labelling is misleading to reasonable consumers.
25          44.      A class action is superior to all other available methods for the fair and efficient
26   adjudication of this litigation because individual litigation of each claim is impractical. It would be
27   unduly burdensome to separately litigate millions of individual claims.
28


     CLASS ACTION COMPLAINT                              11                                           Case No.
           Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 14 of 18




 1   VI.    Claims.
 2                       Count 1: Violations of State Consumer Protection Acts
                  (on behalf of Plaintiffs and the Multi-State Consumer Protection Subclass)
 3
 4          45.       Plaintiffs incorporate each and every factual allegation set forth above.
 5          46.       As alleged below, Plaintiffs bring individual and subclass claims based on California
 6   law. For the Multi-State Consumer Protection Subclass, Plaintiffs bring this count for violations of
 7   state consumer protection laws that are materially-similar to the laws of California, including:
 8            State                              Statute
 9            California                         Cal. Bus. & Prof. Code § 17200, and the
10                                               following; Id. §17500, and the following; Cal. Civ.
11                                               Code §1750 and the following.
12            Connecticut                        Conn. Gen Stat. Ann. § 42- 110, and the following.
13            Illinois                           815 ILCS § 501/1, and the following.
14            Maryland                           Md. Code Ann. Com. Law, § 13-301, and the
15                                               following.
16            Missouri                           Mo. Rev. Stat. § 407, and the following.
17
              New York                           N.Y. Gen. Bus. Law § 349, and the following.
18
            47.       Each of these statutes is materially similar. Each broadly prohibits deceptive conduct
19
     in connection with the sale of goods to consumers. No state requires individualized reliance, or proof
20
     of defendant’s knowledge or intent. Instead, it is sufficient that the deceptive conduct is misleading
21
     to reasonable consumers and that the conduct proximately caused harm.
22
            48.       As alleged in detail above, Olly’s misrepresentations and omissions are misleading to
23
     reasonable consumers in a material way. Olly’s false and misleading labelling was a substantial
24
     factor in Plaintiffs’ purchase decisions and the purchase decisions of class members.
25
            49.       Plaintiffs and class members were injured as a direct and proximate result of Olly’s
26
     conduct because: (a) they would not have purchased Olly Melatonin if they had known that Olly has
27
     serious and systematic problems with its dosing and labelling; (b) they overpaid for the products
28


     CLASS ACTION COMPLAINT                                12                                          Case No.
          Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 15 of 18




 1   because the products are sold at a price premium due to Olly’s misleading labelling; or (c) they
 2   received products that were, in truth, worthless.
 3
                   Count 2: Violation of California’s Unfair Competition Law (UCL)
 4
                            (on behalf of Plaintiffs and the California Subclass)
 5          50.     Plaintiffs incorporate each and every factual allegation set forth above.
 6          51.     Plaintiffs bring this cause of action individually and on behalf of the California
 7   Subclass.
 8          52.     Olly has violated California’s Unfair Competition Law (UCL) by engaging in
 9   unlawful, fraudulent, and unfair conduct (i.e., violating each of the three prongs of the UCL).
10          The Unlawful Prong
11          53.     Olly engaged in unlawful conduct by violating the FAL, as alleged below and
12   incorporated here.
13          The Fraudulent Prong
14          54.     As alleged in detail above, Olly’s labelling is false and misleading. Its labelling is
15   likely to deceive, and did deceive, Plaintiffs and other reasonable consumers.
16          The Unfair Prong
17          55.     Olly’s conduct, as detailed above, also violated the “unfair” prong of the UCL.
18          56.     Olly’s conduct caused substantial injury to Plaintiffs and subclass members. The harm
19   to Plaintiffs and the subclass greatly outweighs the public utility of Defendant’s conduct (which is
20   none). Inaccurately dosed and labelled melatonin supplements have no public utility. This injury
21   was not outweighed by any countervailing benefits to consumers or competition. Misleading labels
22   only injure healthy competition and harm consumers.
23          57.     Plaintiffs and the class could not have reasonably avoided this injury. As alleged
24   above, Olly’s misrepresentations and omissions were deceiving to reasonable consumers.
25          58.     Defendant’s conduct, as alleged above, was immoral, unethical, oppressive,
26   unscrupulous, and substantially injurious to consumers
27          59.     Defendant’s conduct violated the public policy against false and misleading
28   advertising, which is tethered to the CLRA and FAL.


     CLASS ACTION COMPLAINT                              13                                          Case No.
          Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 16 of 18




 1                                                       *    *   *
 2          60.     For all prongs, Plaintiffs saw, read and reasonably relied on Olly’s misrepresentations
 3   and omissions when purchasing Olly Melatonin. Classwide reliance can be inferred because
 4   Defendant’s misrepresentations were material, i.e., a reasonable consumer would consider them
 5   important in deciding whether to buy Olly Melatonin.
 6          61.     Olly’s misrepresentations and omissions were a substantial factor in Plaintiffs’
 7   purchase decision and the purchase decisions of class members.
 8          62.     Plaintiffs and class members were injured as a direct and proximate result of Olly’s
 9   conduct because: (a) they would not have purchased Olly Melatonin if they had known that Olly has
10   serious and systematic problems with its dosing and labelling; (b) they overpaid for the products
11   because the products are sold at a price premium due to Olly’s misleading labelling; or (c) they
12   received products that were, in truth, worthless.
13
                      Count 3: Violation of California’s False Advertising Law (FAL)
14
                           (on behalf of Plaintiffs and the California Subclass)
15          63.     Plaintiffs incorporate each and every factual allegation set forth above.
16          64.     Plaintiffs bring this cause of action individually and on behalf of the California
17   subclass.
18          65.     As alleged in detail above, Olly falsely advertised its products by falsely representing
19   that Olly Melatonin is accurately dosed and labelled.
20          66.     Defendant’s misrepresentations and omissions were likely to deceive, and did deceive,
21   Plaintiffs and other reasonable consumers. Defendant knew, or should have known through the
22   exercise of reasonable care, that these statements were false and misleading.
23          67.     Defendant’s misrepresentations and omissions were intended to induce reliance, and
24   Plaintiffs saw, read and reasonably relied on them when purchasing Olly Melatonin. Classwide
25   reliance can be inferred because Defendant’s misrepresentations and omissions were material, i.e., a
26   reasonable consumer would consider them important in deciding whether to buy the products.
27          68.     Defendant’s misrepresentations and omissions were a substantial factor in Plaintiffs’
28   purchase decision and the purchase decisions of subclass members.


     CLASS ACTION COMPLAINT                              14                                         Case No.
            Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 17 of 18




 1           69.       Plaintiffs and class members were injured as a direct and proximate result of Olly’s
 2   conduct because: (a) they would not have purchased Olly Melatonin if they had known that Olly has
 3   serious and systematic problems with its dosing and labelling; (b) they overpaid for the products
 4   because the products are sold at a price premium due to Olly’s misleading labelling; or (c) they
 5   received products that were, in truth, worthless.
 6
                                   Count 4: Unjust Enrichment/Quasi-Contract
 7
                                 (on behalf of Plaintiffs and the Nationwide Class)
 8           70.       Plaintiffs incorporate each and every factual allegation set forth above.
 9           71.       As alleged in detail above, Olly’s false and misleading labeling caused Plaintiffs and
10   the class to purchase Olly Melatonin and overpay for it.
11           72.       In this way, Olly received a direct and unjust benefit, at the expense of Plaintiffs and
12   the class.
13           73.       Plaintiffs and the class seek the equitable return of this unjust benefit.
14   VII.    Jury Demand.
15           74.       Plaintiffs demand a jury trial on all issues so triable.
16   VIII. Prayer for Relief.
17           75.       Plaintiffs seek the following relief individually and for the proposed class and
18   subclasses:
19                    An order certifying the asserted claims, or issues raised, as a class action;
20                    A judgment in favor of Plaintiffs and the proposed class;
21                    Damages;
22                    Restitution, disgorgement, and other just equitable relief;
23                    An injunction;
24                    Pre- and post-judgment interest;
25                    Any additional relief that the Court deems reasonable and just.
26
27
28


     CLASS ACTION COMPLAINT                                 15                                            Case No.
          Case 4:22-cv-03760-DMR Document 1 Filed 06/24/22 Page 18 of 18




 1   Dated: June 24, 2022               Respectfully submitted,
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     CLASS ACTION COMPLAINT                  16                                   Case No.
